Case 3:20-cv-02416-AJB-MDD Document 1 Filed 12/11/20 PageID.1 Page 1 of 6



 1   SULAIMAN LAW GROUP, LTD.
     Alejandro E. Figueroa (State Bar No. 332132)
 2   2500 South Highland Avenue, Suite 200
 3   Lombard, IL 60148
     Telephone: (630) 575-8181
 4   Facsimile: (630) 575-8188
     Email: alejandrof@sulaimanlaw.com
 5   Attorney for Plaintiff
 6

 7                                UNITED STATES DISTRICT COURT
 8                            SOUTHERN DISTRICT OF CALIFORNIA
 9

10    MITCHELL R. BENNETT,                          Case No.   '20CV2416 AJB MDD
11                      Plaintiff,                  COMPLAINT FOR DAMAGES
12           v.                                     1. VIOLATION OF THE FAIR DEBT
                                                    COLLECTION PRACTICES ACT, 15 U.S.C.
13                                                  §1692 ET SEQ.
      MIDLAND CREDIT MANAGEMENT,
14    INC.,
15                      Defendant.
16                                                  DEMAND FOR JURY TRIAL
17

18                                           COMPLAINT
19          NOW comes MITCHELL R. BENNETT (“Plaintiff”), by and through the undersigned
20
     attorney, complaining as to the conduct of MIDLAND CREDIT MANAGEMENT, INC.
21
     (“Defendant”), as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act
24

25   (“FDCPA”) under 15 U.S.C. §1692 et seq. for Defendant’s unlawful conduct.

26                                     JURISDICTION AND VENUE

27

28
                                                      1
Case 3:20-cv-02416-AJB-MDD Document 1 Filed 12/11/20 PageID.2 Page 2 of 6



 1         2. This action arises under and is brought pursuant to the FDCPA Subject matter jurisdiction
 2   is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States.
 4
           3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant’s principal place
 5
     of business is located in San Diego County, California, which is located within the Southern District
 6

 7   of California.

 8                                                   PARTIES

 9         4. Plaintiff is a consumer and a natural person over-the-age of 18.
10
           5.   Defendant is a collection company that claims to, “specialize in servicing accounts that
11
         have fallen behind and have been charged off by the lender.”1 Defendant is incorporated in the
12
         State of Kansas and maintains its principal place of business at 3111 Camino Del Rio North, Suite
13
         1300, San Diego, California 92108.
14

15         6. Defendant acted through its agents, employees, officers, members, directors, heirs,

16   successors, assigns, principals, trustees, sureties, subrogees, third-party contractors, representatives
17   and insurers at all times relevant to the instant action.
18
                                      FACTS SUPPORTING CAUSES OF ACTION
19
           7. The instant action arises out of Defendant’s attempt to collect upon outstanding credit card
20
     debts (“subject debts”) that Plaintiff allegedly owed.
21

22         8.   Plaintiff used the aforementioned credit cards to finance the purchase of various household

23       and personal items.

24         9.   Upon information and belief, after Plaintiff’s purported default, the subject debts were
25       charged off and eventually sold to Defendant for collection purposes.
26

27

28   1
         https://www.midlandcredit.com/who-is-mcm/
                                                         2
Case 3:20-cv-02416-AJB-MDD Document 1 Filed 12/11/20 PageID.3 Page 3 of 6



 1       10. In an attempt to collect the subject debts, on or around June 10, 2020, Defendant mailed or
 2    caused to be mailed a collection letter to Plaintiff.
 3
         11. Defendant’s letter was enclosed in an envelope that prominently displayed the words
 4
      “TIME SENSITIVE DOCUMENT” on its exterior in bold font.
 5
         12. When Plaintiff observed the “TIME SENSITIVE DOCUMENT” contained on the
 6

 7    envelope, his attention was immediately drawn to the formatting of the words “TIME

 8    SENSITIVE DOCUMENT”.

 9       13. Reading the words “TIME SENSITIVE DOCUMENT” caused Plaintiff to worry about
10
      the contents of the unknown letter, as Plaintiff was unsure as to what time sensitive documents he
11
      would be receiving from a completely unknown sender. Plaintiff immediately grew nervous and
12
      anxious to learn the contents of the letter.
13
         14. As a result of the “TIME SENSITIVE DOCUMENT” disclosure on the envelope,
14

15   Plaintiff immediately opened the collection letter to determine what time sensitive documents were

16   at issue.
17       15. Plaintiff was worried, anxious, and nervous to figure out what time sensitive information
18
     he was receiving from a completely unknown sender.
19
         16. Upon information and belief, Defendant routinely sends collection letters inside of
20
     envelopes marked “TIME SENSITIVE DOCUMENT” in an attempt to cause unsophisticated
21

22   consumers to open the envelopes, read the enclosed letter, and call or otherwise interact with

23   Defendant regarding the subject debts.

24       17. Upon information and belief, Defendant has determined that it collects more money from
25   consumers when it sends letters in “TIME SENSITIVE DOCUMENT” envelopes,
26
     notwithstanding the prohibition against such superfluous language on the envelopes of collection
27
     letters.
28
                                                         3
Case 3:20-cv-02416-AJB-MDD Document 1 Filed 12/11/20 PageID.4 Page 4 of 6



 1       18. The envelope’s inclusion of the words “TIME SENSITIVE DOCUMENT” on its exterior
 2   additionally created a false sense of urgency for Plaintiff who was unable to address even a portion
 3
     of the subject debts, in turn creating unnecessary distress in Plaintiff.
 4
         19. Upon opening the contents of the “TIME SENSITIVE DOCUMENT” envelope, Plaintiff
 5
     was disheartened and frustrated that there was nothing time sensitive about the correspondence
 6

 7   contained within the time sensitive envelope.

 8       20. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 9   limited to confusion and aggravation.
10
         21. Plaintiff has further been unnecessarily confused and concerned given Defendant’s
11
     violations of law, and has further suffered a violation of his state and federally protected interests
12
     as a result of Defendant’s conduct.
13
         22. Plaintiff was further subjected to deceptive and misleading conduct by Defendant which
14

15   materially impacted and shaped his reaction and course of conduct in response to Defendant’s

16   collection efforts.
17       23. Additionally, Defendant’s conduct posed a material risk of harm to the interests protected
18
     by the FDCPA, including Plaintiff’s interest in receiving truthful and accurate information
19
     regarding Defendant’s collection efforts, as well as the FDCPA’s interest in ensuring that otherwise
20
     compliant debt collectors are not disadvantaged in the marketplace through unlawful conduct.
21

22               COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

23       24. Plaintiff repeats and alleges paragraphs 1 through 23 as though fully set forth herein.

24       25. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
25       26. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly
26
     uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.
27

28
                                                         4
Case 3:20-cv-02416-AJB-MDD Document 1 Filed 12/11/20 PageID.5 Page 5 of 6



 1      27. Defendant is engaged in the business of collecting or attempting to collect, directly or
 2   indirectly, defaulted debts owed or due or asserted to be owed or due to others.
 3
        28. The subject debts are “debt[s]” as defined by FDCPA §1692a(5) as they arise out of a
 4
     transaction due or asserted to be owed or due to another for personal, family, or household purposes.
 5
             a. Violations of the FDCPA § 1692e
 6

 7      29. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,

 8   deceptive, or misleading representation or means in connection with the collection of any debt.”

 9      30. In addition, this section enumerates specific violations, such as:
10
                “The use of any false representation or deceptive means to collect or attempt
11              to collect any debt or to obtain information concerning a consumer.” 15
                U.S.C. §1692e(10).
12
        31. Defendant violated §§1692e and e(10) when it used deceptive means to collect and/or
13
     attempt to collect the subject debts. Specifically, it was deceptive for Defendant to implicitly
14

15   represent that it could include the words “TIME SENSITIVE DOCUMENT” printed on an

16   envelope containing a collection letter that was not inherently time-sensitive in nature. The FDCPA
17   specifically prohibits debt collectors from including this type of language on its envelopes, thus
18
     Defendant acted deceptively by including it in clear violation of the FDCPA. Defendant’s actions
19
     only served to worry Plaintiff into opening the envelope and thus increasing the likelihood with
20
     which Defendant would be able to obtain money from Plaintiff.
21

22           b. Violations of FDCPA § 1692f

23      32. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or

24   unconscionable means to collect or attempt to collect any debt.”
25      33. In addition, this section enumerates specific violations, such as:
26
                “Using any language or symbol, other than the debt collector’s address, on
27              any envelope when communicating with a consumer by use of the mails or
                by telegram, except that a debt collector may use his business name if such
28
                                                       5
Case 3:20-cv-02416-AJB-MDD Document 1 Filed 12/11/20 PageID.6 Page 6 of 6



 1              name does not indicate that he is in the debt collection business.” 15 U.S.C.
                §1692f(8).
 2

 3      34. Defendant violated § 169f(8) when it unfairly attempted to collect upon the subject debts.

 4   Any reasonable fact finder will conclude that Defendant’s inclusion of “TIME SENSITIVE

 5   DOCUMENT” on the front of the envelope violates 15 U.S.C. § 1692f(8). As alleged, Plaintiff
 6   instantly opened Defendant’s mail because it said “TIME SENSITIVE DOCUMENT.” Upon
 7
     information and belief, Defendant has determined that it collects more from consumers by including
 8
     “TIME SENSITIVE DOCUMENT” on envelopes. On information and belief, Defendant’s
 9
     research demonstrates that the least sophisticated consumer or the unsophisticated consumer is
10

11   more likely to open letters sent in envelopes marked “TIME SENSITIVE DOCUMENT”.

12      WHEREFORE, Plaintiff MITCHELL R. BENNETT, respectfully requests that this Honorable

13   Court enter judgment in his favor as follows:
14
        a. Declaring that the practices complained of herein are unlawful and violate the
15         aforementioned bodies of law;

16      b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
           §1692k(a)(2)(A);
17
        c. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
18
           §1692k(a)(3);
19
        d. Enjoining Defendant from further contacting Plaintiff; and
20
        e. Awarding any other relief as this Honorable Court deems just and appropriate.
21

22      Dated: December 11, 2020                     Respectfully submitted,
23                                                   /s/Alejandro E. Figueroa
                                                     Alejandro E. Figueroa, Esq.
24                                                   California Bar No. 332132
                                                     Counsel for Plaintiff
25                                                   Sulaiman Law Group, Ltd
                                                     2500 S Highland Ave, Suite 200
26                                                   Lombard, IL 60148
                                                     Telephone: (630) 575-8181 Ext. 120
27                                                   alejandrof@sulaimanlaw.com
28
                                                         6
